                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES – GENERAL

Case No. 2:20-cv-06950-AFM                                                  Date: October 19, 2020
Title        D.P. Technology Corp. v. Asturies Manufacturing Company, Inc. et al



Present: The Honorable:         ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                    Ilene Bernal                                             N/A
                    Deputy Clerk                                    Court Reporter / Recorder

            Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                         N/A                                                 N/A

Proceedings (In Chambers): ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK OF
                           PROSECUTION

       Absent a showing of good cause, an action must be dismissed without prejudice if the
summons and complaint are not served on a defendant within 90 days after the complaint is filed.
FED. R. CIV. P. 4(m). Generally, defendants must answer the complaint within 21 days after service
(60 days if the defendant is the United States). FED. R. CIV. P. 12(a).

       In the present case, it appears that one or more of these time periods has not been met.
Accordingly, the Court, on its own motion, orders plaintiff(s) to show cause in writing on or before
October 29, 2020, why this action should not be dismissed for lack of prosecution. Pursuant to Rule
78(b) of the Federal Rules of Civil Procedure, the Court finds that this matter is appropriate for
submission without oral argument. The Order to Show Cause will stand submitted on that date.

       Filing of the following on or before the date indicated above will constitute a satisfactory
response to the Order to Show Cause:

        ց        Proofs of service of summons and complaint on all defendants for whom such
                 documents have not yet been filed;

                An appearance by all defendants who have been served or an application for entry of
                 default pursuant to Rule 55(a) of the Federal Rules of Civil Procedure;

                A request that the clerk enter default judgment or motion for entry of default
                 judgment pursuant To Rule 55(b) of the Federal Rules of Civil Procedure


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                                                                      Initials of Preparer           ib


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